Case 14-13311-JDW         Doc 55     Filed 10/15/19 Entered 10/15/19 14:05:59              Desc Main
                                     Document Page 1 of 2


_________________________________________________________________________________

                                                     SO ORDERED,



                                                     Judge Jason D. Woodard
                                                     United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________

                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT MISSISSIPPI


IN RE: KELLY MCMILLEN &                                                CHAPTER 13
       SHARLA MCMILLEN

DEBTORS                                                                CASE NO. 14-13311

              ORDER GRANTING MOTION TO SHORTEN NOTICE TIME
                  REGARDING MOTION TO BORROW (Dkt. # 54)

       THIS matter is before the Court on the Motion to Shorten Notice Time Regarding Debtor’s

Motion to Borrow, filed on October 14th, 2019 (Dkt. #54). The Court has reviewed the Motion to

Shorten. and
         XXXXXXXXXXXXXXXXX
             finds it well taken. Accordingly, is hereby ORDERED, AND DECREED that the (JDW)

Motion to Shorten (Dkt. #54) is GRANTED. The Debtor shall serve a copy of the Motion to Borrow

(Dkt. #53) on all parties within three days of the entry of this Order, and the response deadline shall

be the 10th day of following entry of this Order.

                                       #ENDOFORDER#

SUBMITTED BY:

/s/Karen B. Schneller
KAREN B. SCHNELLER, MSB 6558
ROBERT H. LOMENICK, JR., MSB 104186
SCHNELLER & LOMENICK, P.A.
126 NORTH SPRING STREET
POST OFFICE BOX 417
Case 14-13311-JDW   Doc 55   Filed 10/15/19 Entered 10/15/19 14:05:59   Desc Main
                             Document Page 2 of 2


HOLLY SPRINGS, MS 38635
